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                           UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA



         UNITED STATES OF AMERICA

                          v.                                         SENTENCING MINUTES

             JOHN RUSSELL KESTEL                                        Case No. 1:19CR244


HONORABLE LIAM O’GRADY presiding                                                 Time Called: 9:28 a.m.
Proceeding Held: November 15, 2019                                            Time Concluded: 9:47 a.m.
Deputy Clerk: Amanda                                                           Court Reporter: N. Linnell

Appearances:

UNITED STATES OF AMERICA by:                            Jason Trigger, Dennis Fitzpatrick
JOHN KESTEL in person and by:                           Meredith Ralls
INTERPRETER: None                                       ☐ Interpreter Sworn


☒ The parties have no objections to the factual         ☒ The parties have no objections to the application of
  statements in the PSR                                   the guidelines in the PSR

☐ Objections/corrections to factual statements in PSR   ☐ Objections/corrections to application of guidelines
  by ☐ Plaintiff ☐ Defendant                              by ☒ Plaintiff ☒ Defendant


☒ The government presents sentencing argument:          ☒ The defendant presents sentencing argument:
  Recommends 70 months.                                   Requests 24 months.
☒ Defendant exercises right of allocution.              ☒ The court imposes sentence.
☐ The government dismisses count(s) _____.              ☐ Defendant advised of appeal rights.

SENTENCING GUIDELINES:
Offense Level: 29
Criminal History: I
Imprisonment Range: Counts 1 and 2: 87-108 months
Supervised Release Range: Ct. 1: 2-3 years; Ct. 2: 3 years
Fine Range: Counts 1 and 2: $30,000.00 - $500,000.00
Restitution: NA
SA: $200.00

   -   Pursuant to the party’s plea agreement, counsel agree that the 1956 2-point adjustment should not be
       considered towards the guideline calculation.
   -   Court does not modify PSR but will consider the recommended sentencing guideline range.
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SENTENCE IMPOSED:
Imprisonment:                60     Months as to Count(s)       One        of the Information.
                             60     Months as to Count(s)       Two        of the Information.

       Imprisonment term for each count to be served ☒ concurrently ☐ consecutively.
       TOTAL TERM OF IMPRISONMENT IMPOSED: 60 months with credit for time served awaiting
sentencing.


Probation:                          Years as to Count(s)                   of the _____.

Supervised Release:         Three   Years as to Count(s)        One        of the Information.
                            Three   Years as to Count(s)        Two        of the Information.

MONETARY PENALTIES

Special Assessment:     $ 200.00                due immediately

Fine:                   $                       ☒ fine waived

Restitution:            $ NA                    ☐ determination deferred

JOINT AND SEVERAL PAYMENTS

☐ Fine and/or ☐ Restitution is joint and several with _____.
☐ Repayment of Buy Money is joint and several with _____.

FORFEITURE

☒ All property forfeited upon conviction or by order of the court shall be included in the criminal judgment.

RECOMMENDATIONS

☒ The court recommends the defendant’s placement at a facility as close to NoVA as possible.
☒ The court recommends the defendant’s participation in the Bureau of Prisons’ 500-hour drug treatment
  program.
☐ Other: _____.

CUSTODY

☒ The defendant is remanded to the custody of the U.S. Marshal Service.
☐ The defendant is to voluntarily surrender at the institution designated by the Bureau of Prisons as notified by
  the U.S. Probation Office; ☐ on or after _____.
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CONDITIONS OF SUPERVISED RELEASE/PROBATION

Special Conditions

☒   Drug Testing – Special Condition                 ☐ Home Confinement for _____ days
☐   Drug Testing – Standard Condition                ☐ Home Confinement with Alcohol Testing for
☐   Drug Testing – Waived                              _____ days
☐   Monthly Restitution Payment: $ _____             ☐ Community Correctional Center: _____ days
☐   Monthly Fine Payment: $ _____                    ☐ Residential Re-Entry Center: _____ days
☐   Repay Buy Money – Total: $ _____.                ☐ Cooperate with Bureau of Immigration/Customs
☐   Repay Buy Money: $ _____/month                   ☐ Cooperate with IRS
☐   No New Lines of Credit                           ☐ Cooperate with Child Support
☒   Financial Disclosure                             ☐ Participate in mental health treatment program
☐   Submit to search by USPO                         ☐ Participate in sex offender assessment/treatment
☐   No tavern employment or patronization            ☐ Waive confidentiality – sex offender treatment
☐   No employment with fiduciary responsibilities    ☐ No sexually-explicit materials w/minors
☐   No gambling                                      ☐ No possession/viewing of pornography or erotica
☐   No transfer of assets in excess of $500.00       ☐ Obtain GED or HSED
☐   No possession/use of computer – on-line access   ☐ No contact – unrelated children under 18
☐   No possession/use of data encryption/erasure     ☐ No contact with victim(s)
☐   Provide computer passwords and logons            ☐ No contact with gang members
☒   Consent to computer searches                     ☐ Perform community service: _____ hours
☐                                                    ☒ No online computer access
